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 5                       UNITED STATES DISTRICT COURT
 6                                DISTRICT OF NEVADA
 7                                          ***
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 9   UNITED STATES OF AMERICA,                  )       2:06-CR-00291-PMP-LRL
                                                )
10                       Plaintiff,             )
                                                )              ORDER
11         vs.                                  )
                                                )
12   LONNIE LILLARD, et al.,                    )
                                                )
13                                              )
                                                )
14                       Defendant.             )
                                                )
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16         Before the Court for consideration is Defendant Lonnie Lillard’s Motion To
17   Suppress Illegally and Unconstitutionally Seized Evidence and Fruits of the Poisonous
18   Tree (Doc. #52). On July 6, 2007, the Honorable Lawrence R. Leavitt United States
19   Magistrate Judge, entered a Report and Recommendation (Doc. #79) recommending
20   that Defendant’s Motion To Suppress Illegally and Unconstitutionally Seized Evidence
21   and Fruits of the Poisonous Tree (Doc. #52) should be denied.
22         On July 16, 2007, Defendant Lillard’s attorney John N. McNicholas filed
23   Objections to Magistrate Judge Leavitt’s Report and Recommendation (Doc. #84).
24         On July 24, 2007, Defendant Lonnie Lillard filed Objections to Magistrate’s
25   Report and Recommendation (Doc. #87).
26   ///
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 1           On August 1, 2007, Plaintiff United States of America filed a response (Doc.
 2   #88).
 3           The Court has conducted a de novo review of the record in this case in
 4   accordance with 28 U.S.C.§ 636(b)(1)(B) and (C) and Local Rule IB 3-2 and
 5   determines that Magistrate Judge Leavitt’s Report of Findings and Recommendation
 6   (Doc. #79) should be Affirmed.
 7           IT IS THEREFORE ORDERED that Defendant Lonnie Lillard’s, Motion To
 8   Suppress (Doc. #52) is DENIED.
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10   DATED: October 17, 2007.
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13                                                    PHILIP M. PRO
                                                      United States District Judge
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